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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


ALEXANDER GRINIS, MICHAEL
GORDON, and ANGEL SOLIZ, on behalf of
themselves and those similarly situated,

             Petitioners,
                                                Civil Action No. 20-cv-10738-GAO
v.
                                                Leave to File Granted
STEPHEN SPAULDING, Warden of Federal            April 22, 2020 (ECF No. 27)
Medical Center Devens, and MICHAEL
CARVAJAL, Director of the Federal Bureau
of Prisons, in their official capacities,

             Respondents.

 RESPONDENTS’ OMNIBUS RESPONSE TO PETITION FOR WRIT OF HABEAS
CORPUS AND OPPOSITION TO PETITIONERS’ MOTION FOR IMMEDIATE BAIL
            AND INJUNCTIVE AND DECLARATORY RELIEF
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                                        INTRODUCTION

       The Bureau of Prisons (“BOP”) and the Federal Medical Center in Devens, Massachusetts

(“FMC Devens”) have taken extensive measures to prevent and treat COVID-19 among inmates.

Despite these substantial efforts, Petitioners Alexander Grinis, Michael Gordon, and Angel Soliz

(collectively, “Petitioners”), have filed a Petition for Writ of Habeas Corpus Under 28 U.S.C.

§ 2241 and Complaint for Injunctive and Declaratory Relief (the “Petition”) seeking, inter alia,

release from incarceration for themselves, and for all putative class members, certification of the

Petition as a class action, and a declaratory judgment that official-capacity Respondents’ FMC

Devens Warden Steven Spaulding, and BOP Director Michael Carvajal (collectively,

“Respondents”) policies and practices in the wake of the COVID-19 pandemic violate the Eighth

Amendment’s prohibition against cruel and unusual punishment. ECF No. 1. By their Motion for

Immediate Bail Consideration, Temporary Restraining Order, and Preliminary Injunctive Relief

(the “Motion”), Petitioners seek release of class members to “ensure effective social distancing at

FMC Devens in compliance with CDC guidelines,” and ask this Court to order injunctive relief

compelling Respondents to comply with CDC guidelines. ECF No. 3.

       Petitioners claims are without merit and fail on several grounds. First, it is well-settled that

a challenge to conditions of confinement by a habeas petition under 28 U.S.C. § 2241 is improper.

Crooker v. Grondolsky, No. 12-12106-GAO, 2013 WL 101588, at *2 (D. Mass. Jan. 4, 2013); see

also Nelson v. Campbell, 541 U.S. 637, 643 (2004). Second, the Prison Litigation Reform Act

(“PLRA”), 18 U.S.C. § 3626, places strict limitations on a court’s ability to order the release of

inmates “in any civil action in Federal court with respect to prison conditions …” and precludes

a single district judge from doing so, as Petitioners request. 18 U.S.C. § 3626(a)(3)(B). Third,

Petitioners cannot establish that Respondents have been deliberately indifferent to their medical
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needs. As explained further, supra, FMC Devens has taken appropriate steps to mitigate the risk

of COVID-19 throughout its inmate population, including implementing the BOP’s national

response to prevent the introduction and spread of COVID-19 into the BOP, and implementing a

number of other measures at FMC Devens including providing inmate and staff education;

conducting inmate and staff screening; putting into place testing, quarantine, and isolation

procedures in accordance with BOP policy and CDC guidelines; ordering enhanced cleaning and

medical supplies; and a number of other preventative measures.

       Similarly, Petitioners’ request for emergency and injunctive relief must likewise fail. First,

Petitioners are unlikely to succeed on the merits of their claims because the conditions at FMC

Devens are markedly different than those portrayed in the Petition. Contrary to Petitioners’ claims,

FMC Devens has taken numerous measures to comply with CDC and BOP guidelines in an effort

to prevent the introduction and spread of COVID-19 in the institution. Second, this Court is

without legal authority to order the release of prisoners. Third, Petitioners cannot show irreparable

injury. The measures that FMC Devens has put in place reduces the risk that persons with COVID-

19 will enter FMC Devens at the outset, and will prevent the spread of coronavirus within FMC

Devens. Moreover, Petitioners fail to address in any meaningful way how, if released, they will

be safer from the risk of infection or have access to adequate care if they do become infected.

Fourth, Petitioners’ demand for the immediate release and removal of a substantial portion of the

population at FMC Devens would likely cause substantial harm to other class members, as well as

to the general public. Finally, the public interest would not be served by granting the relief that

Petitioners seek. The immediate release of hundreds of inmates would pose profound risks to the

public from released prisoners who have been convicted of serious crimes, and potentially causing

additional criminal activity in the communities where they have been released.



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       Finally, Petitioners seek class certification of every current and future inmate at FMC

Devens. This Court should deny Petitioners’ request for class certification as Petitioners cannot

demonstrate that the proposed class satisfies all four requirements of Fed. R. Civ. P. 23(a):

numerosity, commonality, typicality, and adequacy of representation.            The proposed class

members’ individual cases vary widely, and there is simply no commonality and typicality among

the proposed class members, other than the fact of their incarceration at FMC Devens. Similarly,

Petitioners’ demand for a dramatic remedy of release would have a profound effect on members

of the class without considering the impact on the entirety of the class. Their failure to consider

or account for such concerns in the immediate and sweeping relief that they seek demonstrates that

Petitioners do not adequately represent the putative class.

       For these reasons, as more fully set forth below, Respondents submit this Omnibus

Response and Opposition to the Petition and Motion, and ask this Court to deny the Petition, deny

class certification, and deny the injunctive and declaratory relief that Petitioners seek.

                                    STATEMENT OF FACTS

I.     THE COVID-19 PANDEMIC AND BOP’S RESPONSE

       The Federal Bureau of Prisons (“BOP”) has been monitoring and tracking the spread of

COVID-19 since January 2020 when the first cases of the virus appeared in the United States. See

Declaration of Megan Shaw, M.D. (“Shaw Decl.”) at ¶ 6, attached hereto as Exhibit A.

Recognizing the threat that this virus could pose to its inmate population, the BOP began quickly

organizing its national pandemic response into a multiphase “Action Plan,” implementing a variety

of protocols in response to the rapidly shifting landscape of this pandemic across the United




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States.1    Some of the measures that the BOP has, on a nationwide basis, taken include

implementing screening requirements for inmates and staff; temporarily suspending social visits,

legal visits, inmate transfers, official travel, and contractor access; updating its quarantine and

isolation procedures; and instituting a “modified operations” plan, which directs BOP facilities to

adjust their daily operations in a manner that permits inmates to engage in physical distancing

while in common areas, such as during mealtimes and recreation. Id.

       On March 31, 2020, the BOP ordered all inmates to remain secured in their assigned cells

or quarters for a period of 14 days (to be re-evaluated at the conclusion of that time period) in order

to decrease the spread of the virus. Shaw Decl. ¶ 16. On April 13, 2020, the BOP ordered an

extension of the April 1, 2020 modified operations order through May 18, 2020. Shaw Decl. ¶ 17.

II.    STEPS BEING TAKEN AT FMC DEVENS TO PREVENT COVID-19

       FMC Devens is an Administrative security level institution designed to house

approximately 1,200 inmates at the main facility and approximately 128 inmates at the adjacent

Federal Prison Camp (“FPC”). See Declaration of Amber Bourke (“Bourke Decl.”), attached

hereto as Exhibit B, at ¶ 3. The main Federal Medical Center (“FMC”) facility and the FPC are

separate facilities, and the inmate populations do not interact.2 Id. FMC Devens offers specialized

services for sex offenders, specifically the Sex Offender Management Program. Bourke Decl. ¶ 4.

       FMC Devens has implemented BOP’s national action plan, in compliance with BOP’s

national directives, and has also taken numerous other measures to fight the introduction and

spread of COVID-19 within its facilities including providing inmate and staff education;



       1
           These protocols are discussed at length in Dr. Shaw’s Declaration. See Ex. A.
       2
           “FMC Devens” refers to both the FMC and the FPC, unless otherwise stated.

                                                  4
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conducting inmate and staff screening; putting into place testing, quarantine, and isolation

procedures in accordance with BOP policy and CDC guidelines; ordering enhanced cleaning and

medical supplies; and taking a number of other preventative measures. Shaw Decl. ¶ 19. As a

result, as of April 21, 2020, there were no confirmed cases of COVID-19 at FMC Devens3. Shaw

Decl. ¶ 65.

       From the outset of the COVID-19 pandemic, FMC Devens officials have provided regular

updates to inmates and staff regarding the virus and BOP’s response, and have educated inmates

and staff regarding measures that they should take to stay healthy. Shaw Decl. ¶ 20. The measures

that FMC Devens has taken to insure the health and safety of its staff and inmates includes, but is

not limited to, the following:4

       A.      Inmate Screening and Social Distancing

       FMC Devens has implemented extensive measures to screen inmates for COVID-19, for

both newly arriving inmates and its resident inmate population. All new inmates are screened for

any fever or symptoms. Shaw Decl. ¶ 26. They are then placed in an automatic 14-day quarantine

before being released to their housing units. Id. If the inmate exhibits any symptoms of

coronavirus, the inmate is tested, treated and placed in the Isolation Unit. Id. Resident inmates

who are admitted to an outside hospital and/or emergency room are also placed on a 14-day

quarantine upon their return to FMC Devens. Id. FMC Devens is also screening every inmate,


       3
          Upon information and belief, on April 22, 2020, FMC Devens had its first inmate test
positive COVID-19. The inmate has only had one test thus far, and is awaiting a second test to
confirm the results. The inmate has been in quarantine status since his return from surgery at an
outside hospital. He is not currently at FMC Devens because he has been re-admitted to the
hospital due to complications from surgery.
       4
        A detailed description of the efforts the FMC Devens has taken to prevent the introduction
and spread of COVID-19 at FMC Devens is set forth in Exhibit A.

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every day, for fever and/or symptoms of COVID-19. Shaw Decl. ¶ 26. Any inmate with signs

and/or symptoms of COVID-19 is removed from the housing unit and isolated away from all other

inmates. Id. In addition, the inmate is immediately tested for COVID-19. Id.

       All inmate activities have been separated by housing unit and floor in order to “shelter in

place” with the fewest number of fellow inmates. Shaw Decl. ¶ 31. Every housing unit at FMC

Devens has been sheltering in place, and any inmate needing to be reassigned to another housing

unit has been quarantined off of that unit for 14 days prior to reassignment. Id. Each floor of each

unit has designated times for meals, recreation, laundry, commissary, education, the law library,

book cart distribution, and job assignments. Id. The staff dining hall has been closed during

modified movement enforcement. Shaw Decl. ¶ 54. Inmate meals have been changed to “grab

and go” meals, with Virucide cleaning in between the different unit/floor meal times. Shaw Decl.

¶ 55. In addition, sick call visits, pill lines, insulin administration and all inmate medical screening

has been moved to the inmates’ specific units so they can shelter in place while still receiving their

medications and daily visits from medical staff. Shaw Decl. ¶ 31. Soap and sanitizer have also

been made available to everyone. Id.

       All inmate companions have been moved to the units where they are assigned to work so

that they are sheltering in place with their inmates. Shaw Decl. ¶ 50. All orderlies have been

assigned to work areas by unit and floor so they are working with the same inmates that they have

been sheltering in place with. Shaw Decl. ¶ 51.

       The Memory Disorder Unit (“MDU”) at FMC Devens is a uniquely situated ‘locked’ unit

which has been sheltering in place since March, 2020. Shaw Decl. ¶ 59. A locked unit is one

where very few staff are allowed access and where MDU patients are not exposed to other FMC

Devens inmates. Id. As a result, MDU patients have very limited contact with anyone outside of



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their unit, and if an inmate were to develop symptoms, he may be easily isolated from other patients

via the doors to each individual cell. Id. In addition, all inmate companions within the MDU have

been sheltering in place with the inmate to whom they are assigned to decrease the exposure of

both inmates to any other inmates or staff. Id. These inmate companions have not returned to

their initial housing units and have been reassigned to live on the units where they are designated

as companions. Id.

       As inmates are sheltering in place with their respective floor, additional physical barriers,

currently under construction, are being erected in housing units in order to further decrease the

number of inmates who are sheltering in place together. Shaw Decl. ¶¶ 31, 53. Each floor or each

unit will be further subdivided and the separate groups will be quarantined from each other, just

as inmates on separate floors and in different housing units are. Shaw Decl. ¶ 53.

       The adjacent Federal Prison Camp (“FPC Devens” or the “Camp”) at FMC Devens houses

only Care Level 1 and 2 inmates. Shaw Decl. ¶ 61. These Camp inmates have a much smaller

incidence of the CDC risk factors for increased mortality with COVID than FMC Devens’ elderly

and more medically complicated Care Level 3 and 4 inmates at the main institution. Id. The Camp

as a whole is sheltering in place and Health Services is providing medical care and pill line at the

Camp. Shaw Decl. ¶ 62. In addition, any Camp inmates needing to go to the FMC Health Services

Division or Dental are being assigned a staggered scheduling time so that they are not exposed to

any other inmates. Id.

       At the Camp, inmates are also screened daily for symptoms of COVID and fever in the

same manner as the inmates at FMC Devens. Shaw Decl. ¶ 60. If an inmate develops symptoms,

he is brought inside FMC Devens for isolation. Id. An Isolation Examination Room has been

established at the Camp in order to immediately isolate any inmate away from the rest of the Camp



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inmates if he were to develop symptoms, and which also provides a place behind a closed door for

the inmate. Id. Work assignments have been changed so that none of the inmates are going into

the community to work on furlough, and all jobs have been assigned to within the Camp itself. Id.

       FPC staff are being screened prior to work at the Camp with the same enhanced screening

procedures as the FMC. Shaw Decl. ¶ 63. Additionally, staff and inmates at the Camp are also

required to wear face masks at all times. Id.

       Camp inmates are being evaluated for the expanded Home Confinement program, as set

forth by Central Office in the same program offered to our FMC Devens main institution inmates.

Shaw Decl. ¶ 61.

       B.      Modification of Health Services

       FMC Devens Health Services has modified all medication administration in response to

the COVID-19 pandemic.        Inmates have been educated by health services staff on social

distancing, risk factors for COVID-19, modification of schedules and changes to sick call

procedures so that all inmates have continued to have access to medical staff on a daily basis.

Shaw Decl. ¶ 49.

       All inmates entering the hospital building are screened prior to entrance on a daily basis.

Shaw Decl. ¶ 35. The P-Unit building (originally designed as an Army hospital) has been placed

in a modified lock down with no movement in between the floors, and all medication

administration and meals are distributed on the floors separately. Shaw Decl. ¶ 36. At the onset

of inmates sheltering in place on the units, inmates on dialysis and those who were currently taking

immunosuppressive medication were moved to units that had cell doors so they could shelter in

place with more physical barriers and a smaller number of inmates. Decl. ¶ 37. Dialysis inmates

are screened prior to entering dialysis on a daily basis. Shaw Decl. ¶¶ 27, 34. They are then given



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“grab and go meals” to take back to their unit so they are not exposed to other inmates on the

compound during scheduled moves. Shaw Decl. ¶ 27. Any inmate on Isolation or Quarantine is

dialyzed in the negative pressure isolation room in dialysis. Shaw Decl. ¶ 34. Transplant teams

were notified of modified lock down procedures by FMC Devens’ Transplant Coordinator. Shaw

Decl. ¶ 38. FMC Devens’ telemedicine program for inmate appointments was increased for all of

the transplant inmates who required visits and that could be accomplished by video or conference

call. Id. Telemedicine expansion was also increased with FMC Devens’ local contractors for

inmates who were not transplant inmates but who required visits that could be done by video or

conference call. Id.

       All scheduled medical trips were audited for urgency and any trips that could be

rescheduled without adversely affecting the health of the inmate have been cancelled and

rescheduled. Shaw Decl. ¶ 28. Inmates who must attend scheduled medical appointments are

monitored for fever and symptoms for 14 days by nursing upon their return from the appointment.

Shaw Decl. ¶ 28. Escort officers have been tested and given PPE to wear during scheduled medical

trips out of the institution. Shaw Decl. ¶ 29.

       Medications are administered to the inmates in the units where they are sheltering in place.

Shaw Decl. ¶ 32. Insulin is now given out on the unit, rather than requiring inmates to report to

an insulin line. Id. “Call-outs” to Medical for medical visits have been modified to allow only

inmates from the same floor and unit, who are sheltering in place together, to be in the Medical

Unit at the same time. Id. Medical Exam rooms have been established on each unit to enable

medical providers to see inmates at their shelter in place location. Shaw Decl. ¶ 40. All Chronic

Care and 14-day visits are taking place on the units or in the Quarantine area. Id. Medical

providers were assigned to report to FMC Devens on each day of the weekend to evaluate any



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inmate in the Isolation area, and to test and/or isolate any inmate with symptoms of coronavirus.

Shaw Decl. ¶ 41. Lab Techs are sent to units to draw blood, and radiology services have been

coordinated so that only inmates on the same floor and unit are in the waiting room at the same

time. Shaw Decl. ¶ 42.

       New dental procedures have been initiated by the acting Chief Dentist. Shaw Decl. ¶ 43.

Dental visits have also been moved to the units, and procedures are scheduled by individual inmate

so that there is no exposure to other units/floors in the dental waiting room. Id.

       FMC Devens staff are also enforcing social distancing guidelines. Shaw Decl. ¶ 23. Crisis

Support Team staff have been deployed to discuss concerns and anxieties with both staff and

inmates. Shaw Decl. ¶ 56.

       C.      Isolation and Quarantine Procedures

       FMC Devens has established Isolation and Quarantine areas for symptomatic and

asymptomatic inmates. Two separate ranges were established for Isolation (symptoms) and

Quarantine (asymptomatic) inmates. Shaw Decl. ¶ 22. These areas are physically separated from

the other housing units and are identified with signs prior to entering the unit. Id. Staff have been

educated on use of correct PPE for each range and PPE carts have been set up for easy donning

and doffing of PPE. Id.

       Two examination rooms in the Health Services Unit at FMC Devens have been set aside

for evaluation and testing of any symptomatic inmates. Shaw Decl. ¶ 23. Inmates with any

symptoms of coronavirus, such as a cough or fever, are given a mask and escorted to these special

exam rooms. Id. These rooms also have doors capable of closing and being locked, and all of the

examination rooms are equipped with gowns, face shields, N95 masks and Virucide capable killing

the coronavirus. Id. Inmates are tested for COVID-19, the placed in the separated Isolation Range,



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where they are isolated from all other inmates and staff. Id.

       D.      Testing

       FMC Devens is conducting testing in accordance with CDC guidelines. The CDC has

explained that “[n]ot everyone needs to be tested for COVID-19,” and “decisions about testing are

at the discretion of state and local health departments and/or individual clinicians.”            See

cdc.gov/coronavirus/2019-ncov/symptoms-testing/testing.html (last visited on Apr. 22, 2020).

       As set forth above, FMC Devens has tested any symptomatic inmates.

       E.      Screening Staff and Visitors

       All individuals entering FMC Devens must undergo a health screening prior to entry.

Enhanced screening of staff is taking place. Shaw Decl. ¶ 24. All staff entering the institution are

screened for any fever and symptoms of COVID-19. Id. Staff who are exhibiting any symptoms

or fever are sent home and a medical officer is assigned to contact the staff person and determine

when it will be safe and appropriate for the staff member to return to FMC Devens. Id.

       All Food Service Workers are screened on a daily basis. Shaw Decl. ¶ 33. Medical

contractors have been notified that they will be screened prior to entry, and any clinics that could

be cancelled and rescheduled have been changed to avoid further exposure to community

physicians. Shaw Decl. ¶ 30

       F.      Cleaning

       Sanitation crews at FMC Devens are working days and evenings with chemicals that kill

COVID-19. Shaw Decl. ¶ 33. Virucide has been given to all Health Services employees to clean

their areas several times a day, and between any inmate visits, paying special attention to the visits

from different units and or floors. Shaw Decl. ¶ 44. Inmates have been given access to Virucide

to clean their cells and common areas several times a day. Shaw Decl. ¶ 46.



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       Door holders have been established so that not all inmates are touching door handles as

they are moving to and from their units. Shaw Decl. ¶ 45. Staff keys and radios are disinfected

with Virucide before redistribution to staff each day. Shaw Decl. ¶ 47.

       G.      Supplies

       Since April 8, 2020, all inmates and staff are required to wear masks at all times in the

institution to help decrease any exposure to respiratory droplets or secretions. Shaw Decl. ¶¶ 48,

63. Inmates are subject to discipline if they fail to wear a mask. Shaw Decl. ¶ 48.

       Correctional staff have been provided PPE to be used in appropriate locations throughout

FMC Devens such as quarantined areas, isolation units, and screening sites. All PPE was

inventoried and PPE carts were established in each of the units for staff and officers to use during

visits to the units. Shaw Decl. ¶¶ 22, 39. Escort officers have been given PPE to wear during

scheduled medical trips outside of FMC Devens. Shaw Decl. ¶ 29.

       In addition to the institution-supplied soap available to the inmate population, they can

purchase Dove anti-bacterial and Irish Spring bar soap from the commissary. Shaw Decl. ¶ 31.

Both inmates and staff have widespread access to alcohol-free sanitizers.           Id.   Finally, in

accordance with March 15, 2020, guidance from the FDA allowing BOP to make its own sanitizer,

FMC Devens pharmacy has manufactured 75% isopropyl alcohol antiseptic topical solution hand

sanitizer, which is issued to staff only.             Id.   Pharmacy staff located and secured

Hydroxychloroquine5 per the Emergency Use Authorization for oral formulations of this

medication in for inmates hospitalized with COVID-19. Shaw Decl. ¶ 58.




       5
          Hydroxychloroquine is a drug used to prevent or treat malaria and is being used in clinical
trials for treatment of patients with COVID-19. See https://www.cdc.gov/coronavirus/2019-
ncov/hcp/therapeutic-options.html (last visited Apr. 22, 2020).

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       H.      Inmate and Staff Education

       As set forth above, from the outset of the COVID-19 pandemic, FMC Devens staff and

officials have provided regular education to inmates and staff regarding the virus, the BOP’s

response, and the measures that they themselves should take to stay healthy, including washing

their hands frequently with soap and water, avoiding touching their faces, and practicing physical

distancing whenever possible. In addition to the measures previously set forth, inmates have been

educated by health services staff on social distancing, risk factors for COVID-19, and modification

of schedules and changes to sick call procedures so that all inmates continue to have access to

medical staff on a daily basis. Shaw Decl. ¶ 49. The Warden continues to hold a “Town Hall”

with inmates and provides weekly updates each Thursday to the inmate population through the

BOP’s electronic messaging system. Shaw Decl. ¶ 64.

       Health Services staff developed a tool to identify the high-risk inmates per the CDC

website definition (https://www.cdc.gov/coronavirus/2019-ncov/hcp/underlying-conditions.html)

and are screening these inmates for referral to Expanded Home Confinement in conjunction with

the Unit Team. Shaw Decl. ¶ 57. This analysis includes education and collaboration between the

inmate and his medical provider on whether his risks for COVID-19 are greater at home or at the

institution. Id. In addition, Health Services is diligently completing the medical summaries

necessary to process the Reduction in Sentence/Compassionate Release requests that have been

requested and are complying with all deadlines for this important process. Id.

III.   HOME CONFINEMENT AND COMPASSIONATE RELEASE

       A.      Compassionate Release/Reduction In Sentence

       The BOP does not have the authority to provide inmates with “early release.” Bourke Decl.

¶ 5. A reduction of an inmate’s federal sentence can only be accomplished by an Article III judge,



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and specifically, the inmate’s sentencing judge. Id. However, upon an inmate’s request, the

Director of BOP may make a motion to an inmate’s sentencing court to reduce a term of

imprisonment under 18 U.S.C. § 4205(g) and 18 U.S.C. § 3582(c)(1)(A). This process is outlined

in the U.S. Dep’t of Justice Fed. Bureau of Prisons, Compassionate Release/Reduction In Sentence

Procedures for Implementation of 18 U.S.C. §§ 3582 and 4205(g), Program Statement 5050.50

(Jan. 17, 2019)6. Id. The BOP invokes these statutory authorities in “extraordinary or compelling

circumstances,” which could not have reasonably have been foreseen by the court at the time of

sentencing. Id. The First Step Act, codified at 18 U.S.C. § 3582, specifies that an inmate may file

a Motion for Reduction of Sentence directly to the sentencing court after exhaustion of

administrative remedies, or 30 days from the date the Warden receives such a request from the

inmate, whichever is earlier. Id. The determination of release is ultimately the decision of the

sentencing court. Id.

       Approximately 114 FMC Devens inmates have submitted a request for Compassionate

Release/Reduction in Sentence (“RIS”) by FMC Devens inmates within the past two weeks.

Bourke Decl. ¶ 6. Of these, FMC Devens has determined that 2 of these RIS requests meet the

criteria, and have been forwarded to the BOP Central Office for further RIS consideration and

approval. Id. It is important to note that, while the BOP is processing these requests as

expeditiously as possible, the statute gives the BOP thirty (30) days to evaluate compassionate

release requests before any motion may be presented in the sentencing court. 18 U.S.C.

§ 3582(c)(1)(A). Indeed, the ultimate decision regarding compassionate release lies with the

sentencing judge. Id.


       6
       This BOP Program Statement and all other program statements and operations
memoranda cited herein are available at www.bop.gov via the Resources link. Bourke Decl. ¶ 5.

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               1.      Petitioners’ Requests for Reduction in Sentence

       Each of the Petitioners was reviewed for a RIS by FMC Devens. Bourke Decl. ¶ 7.

       Petitioner Michael Gordon submitted a RIS request on April 13, 2020, and was denied

on April 20, 2020. Bourke Decl. ¶ 8. He sought release based on the potential effects of a

COVID-19 infection, which alone does not meet the necessary criteria for a RIS under BOP

policy. Id.

       Petitioner Alexander Grinis (“Grinis”) submitted a RIS request on April 17, 2020, and

was denied on April 21, 2020. Bourke Decl. ¶ 7. The sole basis upon which Grinis sought

release was potential COVID-19 infection. Id.         The request did not meet the criteria for RIS

under BOP policy. Id.

       Petitioner Angel Soliz (“Soliz”) submitted a RIS request on August 19, 2019, and was

denied on September 3, 2019. Bourke Decl. ¶ 9. At the time he was denied RIS, Soliz did not

have an end-of-life trajectory that met the necessary criteria for a RIS under BOP policy. Id.

       B.      Home Confinement

       At the Attorney General’s direction, the BOP has also significantly increased the number

of inmates on home confinement by over 40% and continues to screen all inmates to determine

whether they are appropriate for home confinement.7 By memoranda dated March 26, 2020, and

April 3, 2020, the Attorney General directed the BOP to “prioritize the use of [its] various statutory

authorities to grant home confinement for inmates seeking transfer in connection with the ongoing

COVID-19 pandemic.” See Attorney General Memoranda dated March 26, 2020 (Exhibit C) and

April 3, 2020 (Exhibit D), attached hereto. In assessing which inmates should be granted home


       7
            See https://www.bop.gov/resources/news/20200405_covid19_home_confinement.jsp
(last visited Apr. 22, 2020).

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confinement, the Attorney General directed the BOP to consider the totality of the circumstances

of each inmate, the statutory requirements for home confinement, and a series of factors including

the age and vulnerability of the inmate, the security level of the facility holding the inmate, the

inmate’s conduct while incarcerated, the inmate’s score under the Prisoner Assessment Tool

Targeting Estimated Risk and Needs, whether the inmate has a demonstrated and verifiable reentry

plan that will prevent recidivism and ensure public safety (including verification that the conditions

under which the inmate would be confined upon release would present a lower risk of contracting

COVID-19 than the inmate would face at their current facility), and the inmate’s crime of

conviction. Exhibit C, at 1-2. In addition to these factors, before granting an inmate release on

home confinement, the Attorney General directed the BOP Medical Director, or his designee, “to

make an assessment of the inmate’s risk factors for severe COVID-19 illness, risks of COVID-19

at the inmate’s prison facility, as well as the risks of COVID-19 at the location in which the inmate

seeks home confinement.” Id. at 2. FMC Devens is following this guidance. Shaw Decl. ¶ 57.

       Although BOP lacks the authority to release an inmate from his sentence, BOP has the

authority to transfer a prisoner to home confinement for the remainder of his or her sentence

pursuant to provisions and limitations set forth 18 U.S.C. § 3624(c)(2) and 34 U.S.C. § 60541. See

also BOP Program Statement 7320.01, Home Confinement and BOP Operations Memorandum,

Home Confinement under the First Step Act. Bourke Decl. ¶ 10. Generally, the BOP may place a

prisoner in home confinement only for the shorter of 10 percent of the term of imprisonment or 6

months. 18 U.S.C. § 3624(c)(2). Bourke Decl. ¶ 11. In order to appropriately evaluate an

individual for home confinement, FMC Devens staff assesses the risk of criminal activity in the

community and determines whether there is an appropriate home where the inmate can be placed.

Bourke Decl. ¶ 12. This is a time and resource intensive process. Id. Upon receipt of the staff



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assessment, the BOP reviews the assessment and makes the final determination regarding home

confinement. Id. If approved, absent any disciplinary infractions, the inmate would serve the

remainder of his or her sentence on home confinement. Id.

        Under 34 U.S.C. § 60541, the BOP may release some or all eligible elderly offenders and

eligible terminally ill offenders from BOP facilities to home detention, upon written request from

either BOP staff, or an eligible elderly offender8 or eligible terminally ill offender9. Bourke Decl.

¶ 13.   In order to appropriately evaluate an elderly or terminally ill individual for home

confinement, the BOP assesses the risk of criminal activity in the community and determines

whether there is an appropriate home where the individual can be placed. Bourke Decl. ¶ 15. If

approved, absent any disciplinary infractions, the inmate would serve the remainder of his or her

sentence on home confinement. Bourke Decl. ¶ 16. Inmates that do not meet the criteria for the




        8
         The statute defines “eligible elderly offender” to include an inmate who is not less than
60 years of age; who is serving a term of imprisonment that is not life imprisonment based on a
conviction for an offense or offenses that do not include any crime of violence; has served two-
thirds of the term of imprisonment to which the offender was sentenced; who has not been
convicted in the past of any Federal or State crime of violence, sex offense, or other offense
referenced in the statute; who has not been determined by BOP to have a history of violence, or of
engaging in conduct constituting a sex offense or other excluded offense; who has not escaped, or
attempted to escape from a BOP institution; whose release to home detention will result in a
substantial net reduction of costs to the Federal Government; and who has been determined by
BOP to be at no substantial risk of engaging in criminal conduct or of endangering any person or
the public if released to home detention. Bourke Decl. ¶ 13; see also 34 U.S.C. § 60541.
        9
          “Eligible terminally ill offender” is defined as an offender in the custody of BOP who
meets all of the above-stated criteria except the age restriction, and has been determined by a
medical doctor approved by BOP to be in need of care at a nursing home, intermediate care facility,
or assisted living facility, or diagnosed with a terminal illness. Bourke Decl. ¶ 14; see also 34
U.S.C. § 60541.




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elderly home confinement can be placed on home confinement under BOP’s general authority to

do so, 18 U.S.C. § 3624(c)(2). Bourke Decl. ¶ 18.

       Under the Coronavirus Aid, Relief, and Economic Security Act (“CARES Act”), signed

into law on March 27, 2020, however, “if the Attorney General finds that emergency conditions

will materially affect the functioning of the BOP, the Director of the Bureau may lengthen the

maximum amount of time for which the Director is authorized to place a prisoner in home

confinement.” Pub. L. No. 116-136, 516 § 12003(b)(2), 134 Stat. 281 (2020). On April 3, 2020,

the Attorney General made that finding and authorized the Director of BOP to immediately

maximize appropriate transfers to home confinement of all appropriate inmates where COVID-19

is materially affecting operations. Exhibit D at 1; Bourke Decl. ¶ 20. In light of the COVID-19

pandemic, BOP is maximizing its authority to place inmates on home confinement and is

expediting the process as much as possible in furtherance of the Attorney General’s memorandum

dated March 26, 2020, and April 3, 2020. Bourke Decl. ¶ 19.

       Pursuant to the Attorney’s General’s direction, FMC Devens receives rosters of inmates to

be considered for home confinement. Bourke Decl. ¶ 21. The factors to be considered when

reviewing and referring inmates for home confinement are: primary or prior offense is not violent;

primary or prior offense is not a sex offense; primary or prior offense is not terrorism; no detainer

for the inmate; the inmate’s Mental Health Care Level is less than CARE-MH 4; the inmate’s

recidivism risk score is Minimum; the inmate has had no incident reports in the past 12 months

(regardless of severity level); the inmate is a U.S. citizen; the inmate has a BRAVO score (custody

classification) of Low or Minimum; the inmate has served 50% of their sentence; and the inmate

has a viable release plan. Id. As a result of FMC Devens’ higher population of inmates convicted

of sex offenses, many FMC Devens inmates are ineligible for home confinement. Id. As part of



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this review, not only does Unit Team review each inmate, a review is conducted by the Special

Investigative Services Department (“SIS”) and the Medical Department (“Medical”). Id. SIS

determines if the inmate has engaged in violent or gang-related activity in prison. Id. Medical

conducts multiple reviews. Id. Initially, Medical must determine the age and vulnerability of the

inmate related to COVID-19 risk factors in accordance with CDC and prevention guidelines. Id.

Additionally, Medical reviews the conditions under which the inmate would be confined upon

release to determine whether those conditions would present a lower risk of contracting COVID-

19 than the inmate would face at the BOP facility, and also determines whether frequent and on-

going medical care is required within the next 90 days. Id.

       To date eight (8) inmates at FMC Devens have been approved for transfers to home

confinement. Bourke Decl. ¶ 22. The inmates receiving transfers must quarantine for fourteen

days prior to transfer. Id. Two of the eight approved transfers have dates for transfer into home

confinement for the week of April 27, 2020. Id. Eight additional inmates were previously referred

by FMC Devens Warden to the Regional Residential Reentry Manager and are being vetted for

approval and placement dates. Id. An additional ten inmates are in the final stage of review at

FMC Devens and are soon to be sent to the Regional Residential Reentry Manager for

consideration as well. Id. To date, 118 inmates have been reviewed under the expanded criteria

for home confinement placement and 91 have been denied home confinement because they fail to

meet the required criteria. Id.

               1.      Petitioners’ Eligibility for Home Confinement

       Petitioner Gordon is currently serving a 15-year sentence with a Projected Release Date

from BOP custody on August 18, 2027. Bourke Decl. ¶ 24. He has served approximately 5 years

and 5 months, which equates to only 36.6% of his term of imprisonment. Id. Under the established



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criteria mentioned above, he is ineligible for consideration for home confinement under the

expanded home confinement reviews. Id. His home detention eligibility date remains at February

18, 2027. Id.

       Petitioner Grinis was previously reviewed and has a Residential Reentry Center Home

Confinement date of May 21, 2020. Bourke Decl. ¶ 23. This is his first eligibility date for home

detention based on his 9-month sentence, with his Projected Release Date from BOP custody on

June 16, 2020.     Id.   Subsequent to the updated reviews for extended home confinement

consideration, Grinis was reviewed again by Unit Team, SIS and Medical. Id. Medical determined

that Grinis fit the criteria for being at high risk for COVID-19, and he cleared review by Unit Team

and SIS. Id. Unit Team was notified to reach out to the Regional Residential Reentry Manager

(“RRM”) to determine whether an earlier release date could be obtained, since he was already

approved for a May 21, 2020 release. Id. At this time, Grinis’ revised home confinement date is

May 5, 2020. Id.

       Petitioner Soliz is currently serving a 20-year (240-month) sentence with a Projected

Release Date from BOP custody on September 13, 2033. Bourke Decl. ¶ 25. He has served

approximately 4 years and 10 days, which equates to only 20.1% of his term of imprisonment. Id.

Additionally, Soliz is not a candidate for extended home confinement because his recidivism risk

score is too high. Id. Soliz fails to meet the required “Minimum” risk score. Id. Furthermore,

Soliz currently has a detainer filed by the State of Texas for a Parole Violation Warrant filed on

February 2, 2017. Id. Under the established criteria mentioned above, he is ineligible for

consideration under the expanded home confinement reviews. Id.




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                                          ARGUMENT

I.     PETITIONERS ARE NOT ENTITLED TO HABEAS RELIEF

       A.      Habeas Relief Is Unavailable To Challenge Conditions Of Confinement

       The gravamen of the Petition is that Petitioners are entitled to habeas relief pursuant to 28

U.S.C. § 2241 based on Respondents’ alleged denial to Petitioners, and putative class members,

of the “ability to engage in social distancing,” and their “failure to use their authority” to order

compassionate release and/or transfer to home confinement. ECF No. 1 at ¶¶ 121-122. Petitioners

allege that their prison conditions pose an unreasonable risk of serious harm to their health, and

they accuse Respondents of acting with deliberate indifference to those needs. Id. at ¶¶ 116-122.

Petitioners’ conditions of confinement claims are not properly brought by the Petition, and they

should be denied.

       The traditional meaning and purpose of habeas relief is to effect release from illegal

custody. Johnson v. Moran, 812 F.2d 23, 24 (1st Cir. 1987) (citing Preiser v. Rodriguez, 411 U.S.

475, 486 n.7 (1973)). “As a general matter, a petition for habeas corpus is the appropriate means

to challenge the fact or duration of incarceration, while challenges to the conditions of confinement

are generally brought as civil rights claims under Bivens.” Graham v. Sabol, 734 F.Supp.2d 194,

204 (D. Mass. 2010) (citing Sanchez v. Sabol, 539 F.Supp.2d 455, 459 (D. Mass. 2008); Kane v.

Winn, 319 F.Supp.2d 162, 213 (D. Mass. 2004); Kamara v. Farquharson, 2 F.Supp.2d 81, 89 (D.

Mass. 1998)); see also Sperling v. Grondolsky, No. 17-12075-PBS, 2018 WL 1904177, at *2 (D.

Mass. Apr. 20, 2018) (typically a Bivens action is the appropriate means for a federal prisoner to

challenge the adequacy of his medical treatment). Indeed, as this Court has found, “judges of this

Court repeatedly have held that the failure to provide adequate medical treatment is not the proper

subject of a petition for a writ of habeas corpus.” Crooker v. Grondolsky, No. 12-12106-GAO,



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2013 WL 101588, at *2 (D. Mass. Jan. 4, 2013); see also Nelson v. Campbell, 541 U.S. 637, 643

(2004) (constitutional claims challenging confinement conditions fall outside of the core of habeas

relief).

           Because a petition for writ of habeas corpus is not the proper means by which to bring

Petitioners’ Eighth Amendment claims, this Court lacks jurisdiction to order habeas relief for

Petitioners, and the Petition should be dismissed. Warner v. Spaulding, Civil Action No. 18-cv-

10850-DLC, 2018 WL 9838349, at *1 (D. Mass. Sept. 24, 2018) (dismissing petition, citing

Muhammad v. Close, 540 U.S. 749, 750 (2004) (per curiam) (request for relief turning on

circumstances of confinement may be presented in a non-habeas action)); see also McLaughlin v.

MacDonald, Civil Action No. 11-11587-JLT, 2012 WL 4058063, at *5 (D. Mass. Aug. 22, 2012)

(dismissing claims alleging inadequate medical treatment brought as habeas action); Kamara, 2

F.Supp.2d at 89 (dismissing petition, finding that a challenge to conditions of confinement on

grounds of inadequate medical treatment should have been brought as a civil rights action);

Bedford v. Wall, No. C.A.04-527L, 2005 WL 775904, at *2 (D. R.I. Mar. 31, 2005) (court may

consider only unlawful custody claims raised by petition).

           Accordingly, Respondents request that this Court deny the Petition, and dismiss it in its

entirety.

           B.     The PLRA Precludes The Relief That Petitioners Seek

           In addition to improperly bringing a Petition for redress of their Eighth Amendment

claims, Petitioners also improperly seek release of hundreds of inmates from FMC Devens as a

remedy. However, the Prison Litigation Reform Act of 1995 (“PLRA”), 18 U.S.C. § 3626, places

strict limits on a court’s ability to order the release of inmates “in any civil action in Federal court

with respect to prison conditions…” and, in fact, precludes a single district judge from doing so



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as Petitioners request. 18 U.S.C. § 3626(a)(3)(B); see also Vaqueria Tres Monjitas, Inc. v.

Comas, 980 F.Supp.2d 65, 117 n.33 (D. Puerto Rico Sept. 23, 2013) (the PLRA’s authority to

release prisoners to cure a “systemic violation of the Eighth Amendment” is reserved to a three-

judge district court).

        The PLRA applies to “any civil proceeding arising under Federal law with respect to the

conditions of confinement or the effects of actions by government officials on the lives of persons

confined in prison, but does not include habeas corpus proceedings challenging the fact or

duration of confinement in prison[.]” 18 U.S.C. § 3626(g)(2). In such a suit, the court “may

enter a temporary restraining order or an order for preliminary injunctive relief,” but such

injunctive relief “must be narrowly drawn, extend no further than necessary to correct the harm

the court finds requires preliminary relief, and be the least intrusive means necessary to correct

that harm.” 18 U.S.C. § 3626(a)(2). Under the PLRA, a “prisoner release order” – which

“includes any order, including a temporary restraining order or preliminary injunctive relief, that

has the purpose or effect of reducing or limiting the prison population, or that directs the release

from or nonadmission of prisoners to a prison,” 18 U.S.C. § 3626(g)(4) – may “be entered only

by a three-judge court,” 18 U.S.C. § 3626(a)(3)(B), and then only if certain conditions have been

met. Among other requirements, “no court shall enter a prisoner release order unless – (i) a court

has previously entered an order for less intrusive relief that has failed to remedy the deprivation

of the Federal right sought to be remedied through the prisoner release order; and (ii) the

defendant has had a reasonable amount of time to comply with the previous court orders.” 18

U.S.C. § 3626(a)(3)(A)(i)(ii). See, generally, Brown v. Plata, 563 U.S. 493 511-512 (2011)

(setting forth the requirements of the PLRA, and holding that only a three-judge court may enter

an order limiting prison population after finding by clear and convincing evidence that crowding



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is the primary cause of the constitutional violation, and only after a district court has first entered

an order for less intrusive relief).

        Congress enacted “the PLRA in an effort, in part, to oust the federal judiciary from day-

to-day prison management.” Inmates of Suffolk Cty. Jail v. Rouse, 129 F.3d 649, 655 (1st Cir.

1997) (citations omitted); see also Benjamin v. Jacobson, 172 F.3d 144, 182 (2d Cir. 1999) (en

banc) (Calabresi, J., concurring) (“The in banc majority argues at length that Congress meant to

get the federal courts out of the business of running jails, and it cites any number of congressional

statements to that effect. I agree.”); Denike v. Fauver, 3 F.Supp.2d 540, 542 (D. New Jersey May

4, 1998) (purpose of PLRA is to reduce federal judicial involvement in prison administration).

“Congress intended the PLRA to revive the hands-off doctrine,” which was “a rule of judicial

quiescence derived from federalism and separation of powers concerns.” Gilmore v. People of

the State of Cal., 220 F.3d 987, 991, 997 (9th Cir. 2000). “Courts must be sensitive to the State’s

interest in punishment, deterrence, and rehabilitation, as well as the need for deference to

experienced and expert prison administrators faced with the difficult and dangerous task of

housing large numbers of convicted criminals.” Brown, 563 U.S. at 511 (2011). Section 3626

thus “restrict[s] the equity jurisdiction of federal courts,” Gilmore, 220 F.3d at 999, and, “[b]y its

terms . . . restricts the circumstances in which a court may enter an order ‘that has the purpose or

effect of reducing or limiting the prison population.’” Plata, 563 U.S. at 511 (quoting 18 U.S.C.

§ 3626(g)(4)). The PLRA’s “requirements ensure that the ‘last remedy’ of a population limit is

not imposed ‘as a first step.’” Id. at 514 (quoting Inmates of Occoquan v. Barry, 844 F.2d 828,

843 (D.C. Cir. 1988)). “The release of prisoners in large numbers . . . is a matter of undoubted,

grave concern.” Id. at 501.

        Here, not only does the PLRA preclude the relief that Petitioners seek, but even if this



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Court were inclined to grant such relief, their request is premature. From the outset, Petitioners

seek release from this Court, contrary to the requirements of the PLRA that any such relief must

be granted by a three-judge panel. Next, they seek release without this Court haven’t entered any

other less intrusive order. On these grounds alone, the Petition must be denied.

       In Money v. Pritzker, ___ F. Supp. 3d ___, Nos. 20-cv-2093 & 20-cv-2094, 2020 WL

1820660 (N.D. Ill. Apr. 10, 2020), inmates from various Illinois Department of Correction

facilities brought purported class action lawsuits seeking release of over 12,000 prisoners in light

of the COVID-19 pandemic. The Court held that the PLRA prevented it from entering the relief

requested by petitioners for the release of inmates. Id. at * 14. Similarly, in the very recent case

of Plata v. Newson, No. 4:01-cv-01351-JST (N.D. Calif. Apr. 17, 2020), plaintiffs sought an

order requiring inmate releases or transfer of inmates in light of the COVID-19 pandemic. There,

the court found that the measures defendants had taken to prevent the spread of the coronavirus,

did not constitute an Eighth Amendment violation. Id. at 15. The court further held that, pursuant

to the PLRA, the court lacked authority to grant the release or transfer, finding that a “prisoner

release order” could only be granted by a three-judge court. Id., citing 18 U.S.C. § 3626(a)(3)(B).

       Here, there can be no dispute that Petitioners’ lawsuit is a “civil action with respect to

prison conditions” governed by the PLRA. 18 U.S.C. § 3626(g)(2). The PLRA defines “civil

action with respect to prison conditions” broadly to mean “any civil proceeding arising under

Federal law with respect to the conditions of confinement or the effects of actions by government

officials on the lives of persons confined in prison, but [that term] does not include habeas corpus

proceedings challenging the fact or duration of confinement in prison[.]” Id. Petitioners seek

release as a remedy for allegedly unconstitutional conditions at FMC Devens —for themselves

and for the putative class members. As set forth above, the PLRA strictly limits the relief that



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this Court may grant and precludes the Court from releasing inmates from FMC Devens as

Petitioners request. 18 U.S.C. § 3626(a)(3)(B). Accordingly, this Court must deny the Petition.

       C.      Respondents Are Not Deliberately Indifferent To Petitioners’ Medical Needs

               1.      Standard

       Petitioners allege that the conditions of confinement at FMC Devens constitute a violation

of the Eighth Amendment. The Eighth Amendment protects against the infliction of “cruel and

unusual punishments.”      U.S. Const. amend. VIII. “[A] prison official violates the Eighth

Amendment only when two requirements are met.” Farmer v. Brennan, 511 U.S. 825, 834

(1994). “[T]o prove an Eighth Amendment violation, a prisoner must satisfy both of two prongs:

(1) an objective prong that requires proof of a serious medical need, and (2) a subjective prong

that mandates a showing of prison administrators’ deliberate indifference to that need.” Kosilek

v. Spencer, 774 F.3d 63, 82 (1st Cir. 2014) (citing Estelle, 429 U.S. at 106; Sires v. Berman, 834

F.2d 9, 12 (1st Cir. 1987)).

       The objective standard evaluates the seriousness of the risk of harm to health. There must

be “a sufficiently substantial ‘risk of serious damage to [the inmate’s] future health.’” Farmer, 511

U.S. 825, 843(1994) (quoting Helling v. McKinney, 509 U.S. 25, 35 (1993)). A medical need is

“serious” if it has been diagnosed by a physician as mandating treatment, or is so obvious that even

a lay person would recognize a need for medical intervention. Leavitt v. Corr. Med. Servs., 645

F.3d 484, 497 (1st Cir.2011); Gaudreault v. Mun. of Salem, 923 F.2d 203, 208 (1st Cir.1990), cert.

denied, 500 U.S. 956 (1991)).

       To satisfy the subjective prong and show deliberate indifference, which has been described

as a “culpable state of mind,” Perry v. Roy, 782 F.3d 73, 78 (1st Cir. 2015), and “a narrow band

of conduct,” Kosilek, 774 F.3d at 83 (citation omitted), a prisoner must generally produce



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“evidence that the absence or inadequacy of treatment is intentional,” Perry, 782 F.3d at 79 (citing

Estelle, 429 U.S. at 105; Watson v. Caton, 984 F.3d 537, 540 (1st Cir. 1993)). Or, “deliberate

indifference may…be exhibited by a wanton disregard [of] a prisoner’s needs, [when] such

disregard [is] akin to criminal recklessness, requiring consciousness of impending harm, easily

preventable.” Kosilek, 774 F.3d at 83 (quoting Battista v. Clarke, 645 F.3d 449, 453 (1st Cir.

2011); Watson, 984 F.2d at 540) (internal quotation marks omitted). In any event, a plaintiff must

prove more than “an inadvertent failure to provide adequate medical care,” Estelle, 429 U.S. at

105, or a mere “disagreement[ ] between [himself] and [his] doctors about the proper course of

[his] medical treatment,” Kosilek, 774 F.3d at 83 (quoting Watson, 984 F.2d at 540). Regarding

the latter, it is well-established that the Eighth Amendment “does not impose upon prison

administrators a duty to provide care…of the prisoner’s choosing.” Id. at 82 (citing Ferranti v.

Moran, 618 F.2d 888, 891 (1st Cir. 1980)). Deliberate indifference to serious medical needs means

“a prison official subjectively must both be aware of facts from which the inference could be drawn

that a substantial risk of serious harm exists, and he must also draw the inference.” Lopes v.

Riendeau, 177 F.Supp.3d 634, 657 (D. Mass. 2016) (quoting Ruiz-Rosa v. Rullan, 485 F.3d 150,

156 (1st Cir. 2007); Farmer, 511 U.S. at 837) (internal quotations omitted)); Cortes-Quinones v.

Jimenez-Nettleship, 842 F.2d 556 (1st Cir. 1988).

       This Court will assess FMC Devens’ actions in light of Petitioners’ constitutional claims,

but it must not substitute its judgment for that of the BOP. “[I]t is not the district court’s own

belief about medical necessity that controls, but what was known and understood by prison

officials in crafting their policy.” Id. (citing Wilson v. Seiter, 501 U.S. 294, 298 (1991)). As such,

although this Court cannot abdicate its responsibility to ensure that the limits imposed by the

Constitution are not ignored, the court does not “sit to substitute its own judgment for that of prison



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administrators.” Id. at 92.

       Not only does the Petition fail to identify that a substantial risk of serious harm to

Petitioners exists, Petitioners are unable to demonstrate that Respondents have acted with

deliberate indifference to Petitioners’ medical needs. While prison administrators do not have

unlimited authority over prisoners, and their actions are subject to judicial checks, such checks are

limited: “their actions cannot be entirely arbitrary and capricious.” Nadeau v. Helgemoe, 561

F.2d 411, 419 (1st Cir. 1977). As long as the prison policy or actions are made in good faith, do

not constitute “deliberate indifference,” or do not go beyond “reasonable professional limits,” such

policies or actions do not violate the Eighth Amendment. Battista v. Clarke, 645 F.3d 449, 454

(1st Cir. 2011) (citing Farmer, 511 U.S. at 844-45; Youngberg v. Romeo, 457 U.S. 307, 321, 324-

25 (1st Cir. 2011) (internal quotations omitted)); but see Cameron v. Tomes, 990 F.2d 14, 20 (1st

Cir. 1993) (professional judgment as to issues involving conditions of confinement creates only a

“presumption” of correctness). Such is the case here.

               2.      Petitioners Cannot Establish Substantial Risk of Harm

       Petitioners cannot establish that they have suffered a “sufficiently serious” deprivation.

See Wilson, 501 U.S. at 297. To be sure, the spread of COVID-19 within the United States puts

everyone at some degree of risk of getting sick, but the BOP has taken appropriate steps to mitigate

those risks throughout its inmate population,10 including with respect to the inmate population at


       10
          Courts around the country have recently received challenges to detention on the grounds
of COVID-19 in the criminal bail context and have recognized the government’s public health
efforts, particularly the efforts of the Bureau of Prisons, to address the COVID-19 crisis. See
United States v. Martin, No. PWG-19-140-13, 2020 WL 1274857, at *4 (D. Md. Mar. 17, 2020);
United States v. Gileno, No. 3:19-cr-161, 2020 WL 1307108, at *4 (D. Conn. Mar. 19, 2020);
United States v. Hamilton, No. 19-CR-54-01, 2020 WL 1323036, at *2 (E.D.N.Y. Mar. 20, 2020);
United States v. Jefferson, No. CCB 19-487, 2020 WL 1332011, at *1 (D. Md. Mar. 23, 2020);
United States, v. Rollins, Nos. 19-CR-34S, 11-CR-251S, 2020 WL 1482323 (W.D.N.Y. Mar. 27,
2020) (denying motion for release from custody pending sentencing and explaining that “[a]s
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FMC Devens. As set forth above, those measures include providing inmate and staff education;

conducting inmate and staff screening; putting into place testing, quarantine, and isolation

procedures in accordance with BOP policy and CDC guidelines; ordering enhanced cleaning and

medical supplies; and taking a number of other preventative measures. Additionally, FMC Devens

implemented the “modified operations” directive in a number of ways to reduce the spread of

COVID-19 among inmates, including: (1) “grab and go” meals for inmates, meaning that inmates

are permitted to pick up pre-packaged meals at designated times, but return to their housing units

in order to eat; (2) providing health services within units, and allowing only inmates from the same

units, who are sheltering in place together, to be in the same area for medical visits; and (3) inmates

are all provided masks and are required to wear them, or be subject to discipline, and extensive

cleaning and sanitizing measures are taking place within FMC Devens.

       Although Petitioners’ argue that they live in units in close proximity to other prisoners,

they fail to recognize that this situation is also true of many unincarcerated members of the

community who live with roommates or family members. See Hines v. Youssef, No. 1:13-cv-

00357-AWI-JL, 2015 WL 164215, at *4 (E.D. Cal. Jan. 13, 2015) (“Unless there is something

about a prisoner’s conditions of confinement that raises the risk of exposure substantially above

the risk experienced by the surrounding communities, it cannot be reasoned that the prisoner is

involuntarily exposed to a risk the society would not tolerate.”). At FMC Devens, each unit is

essentially a closed family unit and the BOP separates each unit from other units, visitors, and sick

inmates. BOP staff also wear masks and/or PPE and give inmates masks to wear. During


serious as it is, the outbreak of COVID-19 simply does not override the statutory detention
provisions above”); United States v. Passley, 2020 WL 1815834, at *4 (E.D.N.Y. Apr. 9, 2020)
(balancing defendant’s risk of flight and health concerns and concluding COVID-19 is not a
sufficiently compelling circumstance to justify release); Mell v. United States, No. 3:20-cv-2277
(BRM), 2020 WL 1852384, at *1 (D. New Jersey Apr. 13, 2020).

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movement, inmates are able to, and are encourage to, maintain social distancing while in line. And

while Petitioners reiterate that they are unable to effectively maintain social distancing in

contravention of CDC guidance, although six-foot distancing would “ideally” be followed, the

guidance acknowledges that complete social distancing may not be feasible in jail. Mays v. Dart,

___ F.Supp.3d ___, 2010 WL 1812381, at *10 (N.D. Ill. Apr. 9, 2020).

       For these reasons, Petitioners have failed to establish that they are subject to an

unreasonable risk of harm, and their constitutional claims must fail.

               3.      The BOP Has Taken Appropriate Measures To Protect The Health Of
                       Inmates At FMC Devens

       Petitioners likewise cannot satisfy the subjective element of the constitutional analysis,

which requires them to prove Respondents’ “culpable state of mind,” Perry, 782 F.3d at 78, and

to produce “evidence that the absence or inadequacy of treatment is intentional,” Perry, 782 F.3d

at 79 (citing Estelle, 429 U.SW. at 105; Watson v. Caton, 984 F.3d 537, 540 (1st Cir. 1993)); see

also Farmer, 511 U.S at 837.

       “To the contrary, the Bureau of Prison is by all objective accounts responding to the

COVID-19 pandemic as any reasonable observer could expect under the circumstances to prevent

infectious outbreak, protect inmate health, and preserve internal order – all legitimate government

aims.” United States v. Villegas, 2020 WL 1649520, at *2 (C.D. Cal. Apr. 3, 2020) (slip op). The

condition complained of here is not the existence of COVID-19, which is not under the control of

the BOP, or of FMC Devens. Rather, the condition complained of is the precautions FMC Devens

has taken to reduce exposure to or the spread of COVID-19. FMC Devens is acutely aware of the

risk that COVID-19 poses to its inmate population and to the public at large, and Respondents can

hardly be said to be indifferent, as shown by their actions as set forth above. See Exhibits A, B.




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       Earlier this month, when Seattle, Washington was the epicenter of the COVID-19 outbreak,

the court noted that “Plaintiffs do not cite to authority, and the court is aware of none, under which

the fact of detention itself becomes an ‘excessive’ condition solely due to the risk of a

communicable disease outbreak — even one as serious as COVID-19.” Dawson v. Asher, No.

C20-0409 JRL-MAT, 2020 WL 1304557, at *2 (W.D. Wash March 19, 2020). Similarly,

Petitioners cannot establish that the precautions and care at FMC Devens are “sure or very likely”

to lead to exposure or that that Respondents have been deliberately indifferent. The district court

in Money, 2020 WL 1820660, reached the same conclusion on similar facts. After finding that

prison officials came forward “with a lengthy list of the actions they have taken to

protect…inmates,” id. at *18, the court recognized that prison officials in that case (like FMC

Devens staff here) “are trying, very hard, to protect inmates against the virus and to treat those

who have contracted it.” Id. There is no evidence to “support any suggestion that [prison officials]

have turned a kind of blind eye and deaf ear to a known problem that would indicate ‘total

unconcern’ for the inmates’ welfare.” Id. (quoting Rosario v. Brown, 670 F.3d 816, 821 (7th Cir.

2012)). This Court should also find that Respondents’ actions “easily pass constitutional muster.”

Id.

       Similarly, in United States v. Desage, No. 2:13-cr-00039-JAD-VCF, 2020 WL 1904584,

at *3 (D. Nev. Apr. 17, 2020), defendant alleged that the BOP’s COVID-19 protections for inmates

were insufficient, and that he was at risk of being exposed to the life-threatening virus. In denying

his release, the court found such claims to be “hyperbole,” and found that the information the

government provided about its plan, procedures and practices in general, and for the defendant in

particular, demonstrated a lack of deliberate indifference, and denied defendant’s emergency

motion for compassionate release. Id. In reviewing Petitioners claims, and considering the actions



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that Respondents have taken to combat COVID-19 and to keep inmates and staff alike from

contracting coronavirus, this Court should also find that Petitioners have failed to demonstrate

deliberate indifference, and that Respondents’ actions, in fact, demonstrate a lack of deliberate

indifference.

       More importantly, the BOP has not been deliberately indifferent to the COVID-19

outbreak, but is taking aggressive measures to combat its spread and care for inmate who contract

the disease. While Petitioners may ultimately disagree with the measures taken by the BOP to

protect and treat inmate health and safety while also carrying out its mission to effectuate criminal

sentences imposed by federal courts, deliberate indifference is not shown simply by a difference

of medical judgment. See Scott v. Benson, 742 F.3d 335, 340 (8th Cir. 2014) (holding that a “mere

difference of opinion over matters of expert medical judgment or a course of medical treatment

fail[s] to rise to the level of a constitutional violation”). “[A] prisoner who merely disagrees with

a diagnosis or a prescribed course of treatment does not state a constitutional violation.” Perkins

v. Kan. Dep’t of Corr., 165 F.3d 803, 811 (10th Cir. 1999). Indeed, a prisoner must prove more

than “an inadvertent failure to provide adequate medical care,” Estelle, 429 U.S. at 105, or a mere

“disagreement[ ] between [himself] and [his] doctors about the proper course of [his] medical

treatment,” Kosilek, 774 F.3d at 83 (quoting Watson, 984 F.2d at 540). Regarding the latter, it is

well established that the Eighth Amendment “does not impose upon prison administrators a duty

to provide care ... of the prisoner’s choosing.” Id. at 82 (citing Ferranti v. Moran, 618 F.2d 888,

891 (1st Cir. 1980)).

        In the midst of this extraordinary emergency, “[i]t is no part of the function of a court or a

jury to determine which one of two modes was likely to be the most effective for the protection of

the public against disease.” Jacobson v. Comm. of Massachusetts, 197 U.S. 11, 30 (1905). Rather,



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public health officials are entitled to heightened deference when exercising science-based public

health judgment during a public health emergency. See, e.g., United States ex rel. Siegel v.

Shinnick, 219 F. Supp. 789, 791 (E.D.N.Y. 1963) (explaining in a habeas matter that “the judgment

required is that of a public health officer and not of a lawyer used to insist on positive evidence to

support action; their task is to measure risk to the public. They deal in a terrible context and the

consequences of mistaken indulgence can be irretrievably tragic.”); Hickox v. Christie, 205 F.

Supp. 3d 579, 594 (D.N.J. 2016) (“To permit these constitutional claims to go forward…would be

a judicial second-guessing of the discretionary judgments of public health officials acting within

the scope of their (and not [the court’s]) expertise.”); see also Jacobson, 197 U.S. at 31 (upholding

mandatory vaccination law and explaining that such a measure, enacted to protect public health,

will not be struck down unless it “has no real or substantial relation to [that goal], or is, beyond all

question, a plain, palpable invasion of rights…” secured by the Constitution); Bragdon v. Abbot,

524 U.S. 624, 650 (1998) (noting that “the views of public health authorities, such as the U.S.

Public Health Service, CDC, and the National Institutes of Health, are of special weight and

authority”); Sch. Bd. of Nassau Cty., Fla. v. Arline, 480 U.S. 273, 288 (1987) (recognizing that

“courts normally should defer to the reasonable medical judgments of public health officials”).

       For the reasons set forth above, it is beyond the purview of this Court to second-guess BOP

officials’ judgment, and the medical judgments made within the BOP, or for this Court to delve

within the daily operation of the BOP. In light of all of the measure taken by the BOP, and by

FMC Devens, Petitioners’ claims fail to state an Eighth Amendment claim of deliberate

indifference to Petitioners’ medical needs. Without an adequate constitutional violation supported

by the pleadings, Petitioners’ claims cannot withstand judgment. Thus, this Court should deny the

Petition, and dismiss Petitioners’ claims in their entirety.



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II.      PETITIONERS ARE NOT ENTITLED TO A TEMPORARY RESTRAINING
         ORDER OR ANY INJUNCTIVE RELIEF

         A.      Standard

         Preliminary injunctive relief, whether sought through a TRO or a request for preliminary

injunction, “is an extraordinary and drastic remedy, one that should not be granted unless the

movant, by a clear showing, carries the burden of persuasion.” Mazurek v. Armstrong, 520 U.S.

968, 972 (1997). Preliminary injunctions are designed to preserve the relative positions of the

parties until a determination of the merits can be reached. See Verhoeven v. Brunswick School

Committee, 207 F.3d 1, 3 (1st Cir. 1999).

         The burden of proof requires the moving party to demonstrate that: (1) he has a substantial

likelihood of success on the merits of his claims; (2) that he will suffer irreparable harm unless the

injunction issues; (3) that his harm outweighs any damage to the opposing party; and (4) that the

injunction would not be adverse to the public’s interest. See Winter v. NRDC, 555 U.S. 7, 20

(2008); Planned Parenthood League of Mass. v. Bellotti, 641 F.2d 1006, 1009 (1st Cir. 1981). The

Supreme Court requires the moving party to demonstrate that the irreparable harm is likely – not t

just possible – before a preliminary injunction may issue. Winter, 555 U.S. at 22.

         In order to receive a preliminary injunction, Petitioners must demonstrate likely success on

the merits of their case. See Esso Standard Oil Co. v. Monroig-Zayas, 445 F.3d 13, 18 (1st Cir.

2006).        If they cannot do so, “the remaining factors ‘become matters of idle

curiosity,’…insufficient to carry the weight of this extraordinary relief on their own.” Chambers

v. NH Prison, 562 F. Supp. 2d 197, 199 (D. N.H. 2007) (quoting Ross-Simons of Warwick, Inc. v.

Baccarat, Inc., 102 F.3d 12, 18-19 (1st Cir. 1996)). Importantly, even if this Court finds that

Petitioners are likely to succeed on the merits of their claims, “unless [Petitioners] also

demonstrate[] [they] will suffer irreparable harm without the requested relief,” a preliminary

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injunction will not issue. Id. (referencing Ross-Simons of Warwick, Inc., 102 F.3d at 19). The two

– likelihood of success and irreparable harm – must “must be juxtaposed and weighed in tandem.”

Ross-Simons of Warwick, Inc., 102 F.3d at 19.

       B.      Petitioners Are Unlikely To Succeed On The Merits Of Their Claims

       Initially, Respondents note that, as discussed above, Petitioners cannot establish a violation

of the Eighth Amendment and are, therefore, unlikely to succeed on the merits. Moreover,

Petitioners are further unlikely to succeed on the merits because: (1) the conditions in FMC Devens

are not as they are portrayed in the Petition; (2) release is unlikely to redress the alleged harm; (3)

Petitioners are not entitled to relief that would divest BOP of its discretion to release inmates in

appropriate circumstances, and; (4) Petitioners are not entitled to unilaterally truncate judicially-

imposed sentences, which can only be modified by the sentencing court.

               1.      Petitioners’ Allegations Regarding The Conditions At FMC Devens Are
                       Inaccurate

       Petitioners portray the conditions at FMC Devens as particularly dire and that FMC Devens

is incapable of preventing the spread of COVID-19. This is simply not an accurate description of

the conditions at FMC Devens. As set forth above, in addition to the steps taken at the national

level, FMC Devens has also taken a number of additional measures in response to the COVID-19

pandemic, including providing inmate and staff education; conducting inmate and staff screening;

putting into place testing, quarantine, and isolation procedures in accordance with BOP policy and

CDC guidelines; ordering enhanced cleaning and medical supplies; and taking a number of other

preventative measures to include: (a) educating inmates and staff regarding the virus and the

BOP’s response, and on measures that they should take to stay healthy; (b) establishing quarantine

and isolation units that are physically separated from the housing units; (c) providing separate

examination rooms and testing for symptomatic inmates; (d) enhancing screening of staff and

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visitors to FMC Devens; (e) reducing and/or prohibiting prisoner movement; (f) distributing

personal protective equipment and sanitizer to staff and inmates, and requiring that masks be worn

in FMC Devens; (f) separating inmates by housing unit and floor to shelter in place with the fewest

number of inmates; (g) modifying activities and services to provide them in the housing unit, with

the fewest number of inmates; and (h) developing extensive cleaning and disinfecting procedures

at FMC Devens.

       Clearly, BOP is doing its level best to protect inmates against COVID-19 and is prepared

to treat those who have contracted it, contrary to the allegations set forth in the Petition. As such,

Petitioners are unlikely to succeed on the merits of their claims.

               2.      Release Is Unlikely To Redress The Alleged Harm

       The primary relief that Petitioners seek from the BOP – release from custody of a hundreds

of FMC Devens inmates (including themselves) – is unlikely to redress the alleged, potential harm

that they or the members of the alleged class purportedly suffer: risk of contracting COVID-19.

To bring a claim in federal court, a plaintiff must satisfy the requirements for Article III standing:

injury, causation, and redressability. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). The

redressability requirement limits Article III jurisdiction to those cases in which the relief sought

will remedy the injury alleged. See Vt. Agency of Nat. Res. v. United States ex rel. Stevens, 529

U.S. 765, 771 (2000). Although certainty is not required, “the [plaintiff] must demonstrate ‘that it

is likely as opposed to merely speculative that the injury will be redressed by a favorable decision

of the court.’” Spectrum Five LLC v. FCC, 758 F.3d 254, 260 (D.C. Cir. 2014) (citation omitted).

A plaintiff must demonstrate standing (including the redressability element) for each form of relief

sought. DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006)). “[I]f a favorable judicial




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decision is unlikely to correct the alleged wrong, there is no case or controversy within the meaning

of Article III.” Brookens v. Am. Fed’n of Gov’t Emps., 315 F. Supp. 3d 561, 566 (D.D.C. 2018).

       Here, Petitioners’ claims again fail, and they cannot demonstrate a likelihood of success

on the merits. Even if this Court had jurisdiction to order the release of prisoners, which it does

not, Petitioners cannot show that the immediate release of a substantial number of FMC Devens

inmates will actually lessen their risk of contracting COVID-19. It cannot be denied that COVID-

19 is spreading throughout the nation generally, and specifically within the Commonwealth of

Massachusetts. However, not one inmate at FMC Devens has contracted COVID-19. As noted,

BOP has taken extensive measures to protect the staff and inmates at FMC Devens, including the

ability to come and go from the facility, screening new arrivals for symptoms, taking measures to

allow greater social distancing during meals and in groups, and isolating anyone showing

symptoms of COVID-19. Unlike many in the community, inmates at FMC Devens do not need to

leave the facility to purchase groceries, toiletries, or cleaning supplies. By contrast, Petitioners

have not provided any assurances that the places where released inmates would reside, or the

lifestyles they would have to maintain upon release, would offer similar protections. For example,

while Petitioners complain that they are required to share a living space with a limited number of

other inmates, it is not clear that they would not be subject to the same arrangement outside the

facility. It is not even clear that all inmates that Petitioners request be released even have a home

to go to or the financial resources to provide for themselves; it is likely many would be homeless

and without means to support themselves if released as Petitioners request. In such a situation, the

risk of contracting COVID-19 is certainly and dramatically increased, and not reduced, if inmates

are released from FMC Devens in the middle of a pandemic with no viable means to obtain food,

shelter and medical care.



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       Under these considerations, Petitioners cannot demonstrate that redress of the alleged harm

– contracting coronavirus – is viable; and as such, cannot demonstrate a likelihood of success on

the merits of their claims.

               3.      Petitioners Are Not Entitled To Divest BOP Of Its Discretion To Place
                       Inmates In Home Confinement In Appropriate Circumstances Or To Have
                       The Court Amend Inmates’ Criminal Sentences

       Petitioners improperly asks this Court to release inmates from FMC Devens in order to

reduce the prison population and to allow for effective social distancing. Unlike the relief that

Petitioners seek, there are specific legal avenues for the release or transfer of post-conviction

inmates. Those avenues include home confinement and/or compassionate release. Petitioners are

not likely to succeed on the merits of their argument that this Court can release inmates from their

incarceration by allowing their Petition or request for injunctive relief.

       Regarding home confinement, the BOP may place a prisoner in home confinement only

for the shorter of 10 percent of the term of imprisonment or 6 months. 18 U.S.C. § 3624(c)(2).

Under the CARES Act, signed into law on March 27, 2020, however, “if the Attorney General

finds that emergency conditions will materially affect the functioning of the [BOP], the Director

of the Bureau may lengthen the maximum amount of time for which the Director is authorized to

place a prisoner in home confinement.” Pub. L. No. 116-136, 516 § 12003(b)(2), 134 Stat. 281

(2020). On April 3, 2020, the Attorney General made that finding and authorized the Director of

BOP to immediately maximize appropriate transfers to home confinement of all appropriate

inmates held at FMC Devens.

       Notably, the determination of whether to place a prisoner in home confinement falls solely

within the discretion of the BOP and is “not reviewable by any court.” 18 U.S.C. § 3621(b). In

deciding whether to place a prisoner in home confinement, the BOP will consider: the inmate’s



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age and vulnerability to COVID-19 per CDC guidelines, the inmate’s conduct in prison including

violence and gang activity, the inmate’s recidivism risk, the inmate’s reentry plan, the inmate’s

danger to the community. Some offenses, such as sex offenses, will render an inmate ineligible

for home confinement. Id. As a result of FMC Devens’ higher population of inmates convicted

of sex offenses, many FMC Devens inmates are ineligible for home confinement. Id. Notably, of

the three named Petitioners in this case, only Grinis is eligible for home confinement, and has a

home confinement date of May 5, 2020. Bourke Decl. ¶ 23.

       Regarding compassionate release, neither BOP nor this Court has the authority to provide

inmates with “early release.”    A reduction of an inmate’s federal sentence can only be

accomplished by an Article III judge, and specifically, the inmate’s sentencing judge. However,

upon an inmate’s request, the Director of BOP may make a motion to an inmate’s sentencing

court to reduce a term of imprisonment under 18 U.S.C. § 4205(g) and 18 U.S.C.

§ 3582(c)(1)(A). This process is outlined in the U.S. Dep’t of Justice Fed. Bureau of Prisons,

Compassionate Release/Reduction In Sentence Procedures for Implementation of 18 U.S.C. §§

3582 and 4205(g), Program Statement 5050 (Jan. 17, 2019). Although the BOP is processing

these requests as expeditiously as possible, the statute provides the BOP thirty (30) days to

evaluate compassionate release requests before any motion may be presented in the sentencing

court. 18 U.S.C. § 3582(c)(1)(A). And, the ultimate decision on compassionate release lies with

the sentencing judge. Id.

       In this case, each of the three named Petitioners was reviewed for a Reduction In Sentence.

Bourke Decl. ¶ 7. All of their requests were denied because of failure to meet the established

criteria. Id. ¶¶ 7-9. Instead, Petitioners essentially seek to divest the BOP of its statutory and

regulatory discretion as to which inmates should be placed in home confinement, and to divest



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sentencing judges of their ability (within the requirements of law) to determine the sentence of

individuals convicted in their courts. Petitioners should not be granted such sweeping and

unprecedented relief when existing administrative and statutory proceedings are available to grant

them the relief that they seek, if appropriate, or to circumvent the decisions made on the merits of

their requests.

        For these reasons, Petitioners have not shown that they are likely to succeed on the merits

of their claim.

        C.        Petitioners Fail To Establish Imminent Irreparable Harm

        Petitioners cannot show irreparable harm such that an injunction or TRO should issue. To

the contrary, as discussed above, the BOP has taken significant steps to ensure the health and safety

of inmates, and the minimization of risk of exposure to all inmates and staff. The BOP also has

instituted necessary precautions and procedures to ensure that any inmates who become ill will be

well-cared for.

        Here, Petitioners allege merely the possibility of contracting COVID-19 as the basis for

the injunctive relief they seek from this Court. “Issuing a preliminary injunction based only on a

possibility of irreparable harm is inconsistent with [the Supreme Court’s] characterization of

injunctive relief as an extraordinary remedy that may only be awarded upon a clear showing that

the plaintiff is entitled to such relief.” Winter, 555 U.S. at 22. “A showing of irreparable harm

requires an actual, viable, presently existing threat of serious harm that cannot adequately be

remedied through money damages alone.”            Corporate Technologies, Inc. v. Harnett, 943

F.Supp.2d 233, 242 (D. Mass. 2013) (case citations omitted).

        Accordingly, Petitioners claims once again fail. As discussed above, Petitioners fail to take

into account the myriad protections which have been put in place to prevent the introduction and



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spread of infection within FMC Devens, and to reduce the risk that persons with COVID-19 enter

FMC Devens in the first place. Moreover, Petitioners fail to address in any meaningful way how,

if released, they will be safer from the risk of infection or have access to adequate care if infected.

Every person in the United States, whether in a prison or not, faces the risk of COVID-19 exposure.

See United States v. Steward, No. S1:20-cr-0052 (DCL), 2020 WL 1468005, at * 1(S.D.N.Y. Mar.

25, 2020) (“there is also no reason to find that the defendant’s release would lessen the risk to his

health presented by COVID-19); United States v. Taylor, No. 5:19-CR-192-KKC-MAS, 2020 WL

1501997, at *5 (E.D. Ky. Mar. 26, 2020) (“there is little reason to believe that [Petitioner] would

be more at risk if detained versus being released”). Thus, Petitioners are far from showing

irreparable harm in this case.

       Further, Petitioners have alternative methods for relief available to them, other than seeking

a temporary restraining order, to secure early release. See, e.g., 18 U.S.C. § 3582 (compassionate

release); 18 U.S.C. § 3624(c) (prerelease custody/home confinement). As such, Petitioners have

not shown irreparable harm and the inability to show irreparable harm presents an independent

basis for denying their requested emergency relief.

       D.       Granting Petitioners’ Requested Relief Would Cause Substantial Harm To Others

       Petitioners demand a dramatic remedy that would have a profound effect on hundreds of

inmates, as well as to the general public: the immediate release of a substantial portion of

convicted inmates at FMC Devens. Petitioners do not allege that they have appropriate release

plans, or that they would have a place to go, but even if they did, Petitioners provide no assurance

that all of the released inmates have similar conditions, or that they will be able to provide for their

own food and medical care needs, or to protect themselves any better against the spread of COVID-

19. More importantly, Petitioners do not (and cannot) provide any assurance regarding the



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hundreds of other inmates who would find themselves immediately released. Indeed, it is quite

likely that the sudden removal of so many inmates would leave some of them homeless and without

access to food, shelter, or medical care in the midst of a grave pandemic that is having a substantial

impact on the nation. The public would be placed at risk by release of criminally convicted

inmates, without a release plan or conditions of release. Thus, Petitioners requested relief would

cause substantial harm to themselves and others and therefore should be denied.

       E.      Public Health And Safety Would Not Be Served By Granting The Requested Relief

       The public’s interest is not served by short-circuiting the existing administrative and

judicial processes that are designed to carefully weigh freeing the incarcerated and convicted

individuals at issue from custody against the risk to public safety in doing so. The risk of danger

to the public in granting Petitioners relief and requiring the immediate release of hundreds of

inmates who have been convicted and sentenced for a myriad of crimes, outweighs the alleged

need for expediency here. The BOP will make a determination as to which inmates are entitled to

home confinement (see, e.g., Attorney General’s Memoranda, Exhibits C and D), or the other

judicial avenues available to convicted prisoners.

       Further, the government’s interest in public safety extends to protecting the public from

the risk of the spread of COVID-19 and recidivism by released inmates. Indeed, the Attorney

General makes clear that such release should be done in a manner that balances the safety

considerations for all involved. See Exhibits C, D. The Attorney General recognizes that there is

“an obligation to protect the public.” This means that BOP “cannot simply release prison

populations en masse onto the streets.” Such a release “would pose profound risks to the public

from released prisoners engaging in additional criminal activity, potentially including violence or

heinous sex offenses.” Id. Our over-burdened police and safety services should not be forced to



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deal with the “indiscriminate release of thousands of prisoners onto the streets without any

verification that those prisoners will follow the laws when they are released, that they will have a

safe place to go where they will not be mingling with their former criminal associates, and that

they will not return to their former ways as soon as they walk through the prison gates.” These

weighty considerations cannot be adequately addressed by the Court granting Petitioners’

proposed relief of immediately releasing hundreds of inmates. Clearly, Petitioners have not shown

that the balance of hardships and public interest tips in their favor.


III.   PETITIONERS HAVE NOT PROVIDED A SUFFICIENT BASIS FOR CLASS
       CERTIFICATION, AND CLASS-WIDE RELIEF WOULD LIKELY HARM
       MANY INMATES

       Petitioners purport to bring the action as a class action on behalf of themselves and “all

current and future people in post-conviction custody at FMC Devens.” The class action is ‘an

exception to the usual rule that litigation is conducted by and on behalf of the individual named

parties only.’” Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013) (quoting Califano v. Yamasaki,

442 U.S. 682, 700-01 (1979)). To certify a class under Fed. R. Civ. P. 23, a plaintiff must show

that the proposed class satisfies all four requirements of Fed R. Civ. P. 23(a) and one of the three

Fed. R. Civ. P. 23(b) requirements. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). As

discussed below, class certification is inappropriate in this case; see also Abla v. Brinker Rest.

Corp., 279 F.R.D. 51, 55 (D. Mass. 2011) (quoting In re Relafen Antitrust Litig., 218 F.R.D. 337,

341 (D. Mass. 2003)).

       Petitioners fall short. They claim to satisfy the numerosity requirement only by lumping

together “all current and future people in post-conviction custody at FMC Devens...” For purposes

of this filing only, the BOP does not challenge the numerosity requirement under Rule 23(a). So

construed, however, the class cannot satisfy the remaining elements.

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       A class action may not be certified unless “there are questions of law or fact common to

the class.” Fed. R. Civ. P. 23(a)(2). This means Petitioners are required “to demonstrate that the

class members have suffered the same injury.” Dukes, 564 U.S. at 350. The Supreme Court has

cautioned that the language of Rule 23(a)(2) “is easy to misread, since ‘[a]ny competently crafted

class complaint literally raises common ‘questions.’” Id. at 349 (citations omitted). The “claims

must depend upon a common contention … of such a nature that it is capable of classwide

resolution.” Id. at 350. Determination of whether the contention is true or false must “resolve an

issue that is central to the validity of each one of the claims in one stroke.” Id.; see also id. at 352

(requiring “some glue holding the alleged reasons for all those [challenged] decisions together”).

       In Money, 2020 WL 1820660, the district court denied class action certification in identical

circumstances to the case sub judice. The district court explained that public interest “mandates

individualized consideration of any inmate’s suitability for release and on what conditions, for the

safety of the inmate, the inmate’s family, and the public at large. Id. at *14. This is because

“[e]ach putative class member comes with a unique situation – different crimes, sentences,

outdates, disciplinary histories, age, medical history, places of incarceration, proximity to infected

inmates, availability of a home landing spot, likelihood of transmitting the virus to someone at

home detention, likelihood of violation or recidivism, and danger to the community.” Id. at *15.

The district court ruled that this resulted in a lack of commonality because the only matter “apt to

drive the resolution of the litigation” was which inmates should be released. Id. at *14 (quoting

Dukes, 564 U.S. at 350.)

       Here, the identical problem exists. Petitioners’ proposed class would combine inmates that

have different crimes, sentences, outdates, disciplinary histories, ages, medical histories,

proximities to infected inmates, availabilities of a home landing spot, likelihoods of transmitting



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the virus to someone at home detention, likelihoods of violation or recidivism, and dangers to the

community. Moreover, class members likely have different means to provide for themselves upon

release and different access to medical care upon release. Petitioners even lump together inmates

who are currently sick with COVID-19 with asymptomatic inmates and inmates who might have

previously been sick and made a full recovery. There simply is no commonality and typicality

among proposed class member other than the fact or their incarceration at FMC Devens.

       Further, Petitioners cannot show adequacy of representation. The “adequacy of

representation element requires that [Petitioners] demonstrate that [their] interests will not conflict

with those of the class members and that [their] counsel is qualified, experienced, and able to

vigorously conduct the proposed litigation.” Payne v. Goodyear Tire & Rubber Co., 216 F.R.D.

21 (D. Mass. 2003) (citing Andrews v. Bechtel Power Corp., 780 F.2d 124, 130 (1st Cir. 1985)).

Here, again, Petitioners fail. As set forth above, Petitioners do not have an identical interest, and

in fact are ineligible for release, thus presenting conflicting interests. Furthermore, Petitioners

here demand a dramatic remedy that would have a profound effect on members of the class: the

immediate release and removal of a substantial portion of the population at FMC Devens. Even if

Petitioners purport to have homes that they could go to upon release, they provide no assurances

that other class members (including those that would have to be released to effectuate their

requested injunction) are similarly situated. Indeed, it is quite likely that the sudden removal of so

many inmates would leave some of them homeless and without access to food, shelter, or medical

care in the midst of a grave pandemic that is having a substantial impact on the nation.

       Petitioners’ failure to consider or account for such concerns in the immediate and sweeping

relief that they seek demonstrates that they are not fit to represent the members of their proposed

class. Accordingly, this Court must deny class certification.



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                                        CONCLUSION

        The BOP is taking significant and ongoing steps to prevent the spread of COVID-19 in

FMC Devens and to provide medical care and treatment for inmates who do become infected. The

BOP and FMC Devens have taken the COVID-19 pandemic extremely seriously and have

implemented numerous measures to proactively combat the spread of this disease to staff members

and the inmate population. Shaw Decl. ¶ 66. The various phases of BOP’s Action Plan have been

designed and implemented in a systemic manner both nationally and at FMC Devens in order to

mitigate the spread of COVID-19. Id. The BOP and FMC Devens remain flexible in their ability

to receive guidance from the CDC and other health organizations and to modify their actions to

best respond to this pandemic, according to the quickly shifting needs on the ground. Shaw Decl.

¶ 68.

        For these reasons, and for those that may be argued orally, Petitioners cannot demonstrate

that the BOP, or FMC Devens, has acted with deliberate indifference and their constitutional

claims under the Eighth Amendment must fail. Moreover, the release of hundreds of prisoners by

this Court is neither permitted by law, nor would it serve the health and safety of the inmates or

the general public. Therefore, this Court must deny the Petition for Writ of Habeas Corpus, deny

class certification in this case, and deny Petitioners’ motions for a temporary restraining order,

injunctive relief and declaratory judgment.




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                                    Respectfully submitted,

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